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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                       Sheet 1


                                          UNITED STATES DISTRICT COURT
                                                         Southern District of New York
                                                                              )
               UNITED STATES OF AMERICA
                                                                              )
                                                                                      JUDGMENT IN A CRIMINAL CASE
                          V.                                                  )
                                                                              )
                                                                                      Case Number: 01: (S1) 20-Cr-00174-01 (SHS)
                  FERNANDO RODRIGUEZ                                          )
                                                                              )       USM Number: 36137-054
                                                                              )
                                                                              )        Zawadi S. Baharanyi
                                                                              )       Defendant's Attorney
THE DEFENDANT:
!i1 pleaded guilty to count(s)       One and Two and Three in the Superseding Information
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended
18 U.S.C. § 1349, and             Conspiracy to Commit Wire Fraud and Honest Services                         12/31/2018                    1

1346                              Fraud
18 u.s.c. § 1349              Conspiracy to Commit Health Care Fraud                   12/31/2018                   2
18 U.S.C. 1347 and 2          Health Care Fraud                                        12/31/2018                  3
The
e defendant is sentenced as provided in pages 2 through      ----7   of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)     underlying ind. & open counts           □ is        � are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                             1/11/2023




                                                                                                Sidney H. Stein, U.S. District Judge
                                                                            Name and Title of Judge



                                                                            Da
                                                                                  �ll :it1.JJ
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AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                    Judgment- Page      2   of   7
 DEFENDANT: FERNANDO RODRIGUEZ
 CASE NUMBER: 01 : (S1) 20-Cr-00174-01 (SHS)

                                                             IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                     six months on each count to run concurrently.




      ~ The court makes the following recommendations to the Bureau of Prisons:

           1. That defendant not be housed in the MDC or Essex Correctional Facility.
           2. That defendant be housed as close to New York City as possible .



      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D    at                                  D a.m.      D p.m.       on

           D as notified by the United States Marshal.

      ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on           3/31/2023
           D as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                         to

 at                                                  , with a certified copy of this judgment.
      ----------------


                                                                                                 UNITED STATES MARSHAL



                                                                            By   ------=-===-=-=-==-=-:-=::-:-ccc-::--:::-:--:-:-------
                                                                                             o EruTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                        Judgment-Page _ __       of - - - - -
DEFENDANT: FERNANDO RODRIGUEZ
CASE NUMBER: 01: (S1) 20-Cr-00174-01 (SHS)
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

                                                                                     two years on each count to run concurrently.




                                                       MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                fill The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                     substance abuse . (check if applicable)
4.    D You must make restitution in accordance with I 8 U .S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.     Ill' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 3A - Supervised Release
                                                                                              Judgment-Page _ _ _ _ _ of - - - ~ - -
DEFENDANT: FERNANDO RODRIGUEZ
CASE NUMBER: 01: (S1) 20-Cr-00174-01 (SHS)

                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame .
2.  After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4.  You must answer truthfully the questions asked by your probation officer.
5.  You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least I 0
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8.  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition , destructive device, or dangerous weapon (i .e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision .




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www .uscourts.gov.


Defendant's Signature                                                                                   Date
                                                                                                               ------------
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                       Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                                 Judgment-Page   -~
                                                                                                                  5-   of   7
DEFENDANT: FERNANDO RODRIGUEZ
CASE NUMBER: 01 : (S1) 20-Cr-00174-01 (SHS)

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. You shall submit your person, and any property, residence , vehicle, papers, computer, other
 electronic communication, data storage devices, cloud storage or media, and effects to a
 search by any United States Probation Officer, and if needed, with the assistance of any
 law enforcement. The search is to be conducted when there is reasonable suspicion
 concerning violation of a condition of supervision or unlawful conduct by the person being
 supervised . Failure to submit to a search may be grounds for revocation of release . You
 shall warn any other occupants that the premises may be subject to searches pursuant to
 this condition . Any search shall be conducted at a reasonable time and in a reasonable
 manner.

 2. You must provide the probation officer with access to any requested financial information.

 3. You must not incur new credit charges or open additional lines of credit without the
 approval of the probation officer unless you are in compliance with the installment payment
 schedule.

 4. If the probation officer determines, based on your criminal record, personal history or
 characteristics, that you pose a risk to another person (including an organization), the
 probation officer, with the prior approval of the Court, may require you to notify the person
 about the risk and you must comply with that instruction. The probation officer may
 contact the person and confirm that you have notified the person about the risk.

 5. You shall make installment payments toward the restitution in the amount of 10% of your gross salary.

 6. You shall be supervised by the district of residence .
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                        Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment- Page _ _6
                                                                                                                              ~_     of         7
 DEFENDANT: FERNANDO RODRIGUEZ
 CASE NUMBER: 01: (S1) 20-Cr-00174-01 (SHS)
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment             Restitution                   Fine                   AVAA Assessment*            JVTA Assessment**
 TOTALS            $    300 .00              $131,500.00                 $   0.00               $   0.00                    $   0.00


 D    The determination of restitution is deferred until
                                                         -----
                                                               . An Amended Judgm ent in a Criminal Case (AO 245C) will be
      entered after such determination .

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority or¢er or perc~ntage payment column below. However, pursuant to 18 U.S .C. § 3664(i), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                   Total Loss***                  Restitution Ordered        Priority or Percentage
  Clerk of Court, S.D.N .Y.                                                                                $131,500.00

  500 Pearl Street

  New York, NY 10007

  Att: Cashier

  for disbursement to victims (see Consent

  Order of Restitution dated 1/11/2023)




TOTALS                                $                           0.00              $               131,500.00
                                                                                        ----------

D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the           D fine       D restitution .
       D    the interest requirement for the        D     fine    D      restitution is modified as follows :

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018 , Pub. L. No . 115-299.
** Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA , and 113A of Title              18 for offenses committed on
or after September 13 , 1994, but before April 23, 1996.
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                        Judgment   a Criminal Case             Document 36 Filed 01/24/23 Page 7 of 7
                        Sheet 6 - Schedule of Payments

                                                                                                            Judgment -   Page   -~7-   of
 DEFENDANT: FERNANDO RODRIGUEZ
 CASE NUMBER: 01: (S1) 20-Cr-00174-01 (SHS)

                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A      lll    Lump sum payment of$        300 .00             due immediately, balance due


               □    not later than                                 , or
               □    in accordance with
                                         □     C,
                                                     □   D,
                                                               □    E, or     D F below; or
 B      □      Payment to begin immediately (may be combined with           □ c,      D D,or       D F below); or
 C      D Payment in equal           _ _ _ _ _ (e. g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D      D Payment in equal           _ _ _ _ _ (e. g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e .g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,          30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F      liZl   Special instructions regarding the payment of criminal monetary penalties:
                While serving the term of imprisonment, you shall make installment payments toward your restitution obligation
                and may do so through the Bureau of Prisons' (BOP) Inmate Financial Responsibility Plan (IFRP). Pursuant to
                BOP policy, the BOP may establish a payment plan by evaluating your six-month deposit history and subtracting
                an amount determined by the BOP to be used to maintain contact with family and friends . The remaining balance
                may be used to determine a repayment schedule . BOP staff shall help you develop a financial plan and shall
            flilo,1j~r      +he. ;V\'I\Q.{is
                                         f,to!lrcs.i i~ Mtt+ir1J YtNf 'f~H/-,,..J,'0r,            1>h/i<ta.h'or1.
Unless the court has expressly ordered otherwise, if th is judgment impbses imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




[l]     Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                                Joint and Several                 Corresponding Payee,
        (including defendant number)                      Total Amount                       Amount                           if appropriate
        21-Cr-221-1 Victor Rivera (as to Count                                      66,500 .00
        One)

 D      The defendant shall pay the cost of prosecution.

 D      The defendant shall pay the following court cost(s):

 i;zJ   The defendant shall forfeit the defendant' s interest in the following property to the United States:
        $131,500.00 in U.S. currency.


Payments shall be a_pplied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (I 0) costs, mcluding cost of
prosecution and court costs.
